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                  UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF NEW YORK


BRITTANY MCHENRY,
Plaintiff,
                                                 Case Number: 1:19-cv-11294
-against-
                                                 COMPLAINT
FOX NEWS NETWORK, LLC; FOX
ENTERTAINMENT GROUP; NEWS                        JURY TRIAL DEMANDED
CORPORATION; FOX CORPORATION;
GEORGE MURDOCH (A/K/A “TYRUS”);
JENNIFER RAUCHET; JOHN FINLEY;
and MONICA MEKEEL,

Defendants.
      Plaintiff BRITTANY MCHENRY, by and through her attorneys, The
Bloom Firm, hereby files this Complaint against Defendants FOX NEWS
NETWORK, LLC, FOX ENTERTAINMENT GROUP, NEWS
CORPORATION, FOX CORPORATION (collectively “Fox News” or “Entity
Defendants), GEORGE MURDOCH (a/k/a “TYRUS”), JENNIFER RAUCHET,
JOHN FINLEY, and MONICA MEKEEL. Plaintiff alleges upon knowledge
concerning her own experience and upon information and belief as to all other
matters.
I.    OVERVIEW
      1.  After payouts of over $100 million in recent sexual harassment
scandals, Fox News publicly says it now has “zero tolerance" for sexual
harassment. This is a dangerous lie. In practice, Fox News remains a sanctuary for
sexual harassers, coddling and enabling the men who abuse female
employees. Even in 2019, Fox News' actions demonstrate a great deal of
tolerance for a male employee who repeatedly propositioned his female co-host in
texts, rewarding him with his own show. The only "zero tolerance" Fox News has
demonstrated is for the woman who complained about the sexual harassment four


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times -- refusing to investigate some of her claims, shunning her, shutting her out
of company events, and refusing to allow her on Fox News Channel shows.

      2.     For months in 2018, Ms. McHenry was crudely sexually harassed by
her co-host at Fox News, the broadcast home of serial sexual predators Bill
O’Reilly and Roger Ailes. The co-host threatened to send her a “dick pic” over
text message, told her he liked her buttocks and legs, and speculated what Ms.
McHenry would be like after sexual intercourse. When Ms. McHenry complained
to Fox News Human Resources and management, Fox News asked what Ms.
McHenry did to provoke her harasser. In accordance with Fox News’ long history
of tolerating sexual harassment and targeting women who report it, Fox News
then punished the victim and rewarded the harasser. Throughout 2019, Fox News
retaliated against Ms. McHenry, stripping her of professional opportunities while
simultaneously promoting her harasser, giving him his own show.
      3.     As a result of her treatment by Defendants, Ms. McHenry has
suffered humiliation, emotional anguish, derailment of her career, and significant
loss of economic opportunities.
II.   THE PARTIES
      4.     Plaintiff BRITTANY MCHENRY (“Plaintiff” or “Ms. McHenry”) is
an individual residing in Arlington, Virginia.
      5.     Defendant FOX CORPORATION, is, upon information and belief, a
domestic business corporation incorporated in Delaware with its principal place of
business in New York City. Fox Corporation subsidiaries include Fox News
Group, Fox News Channel, and Fox Nation.
      6.     Defendant FOX NEWS NETWORK, LLC, is, upon information and
belief, a domestic business corporation incorporated in Delaware with its principal
place of business in New York City.
      7.     Defendant FOX ENTERTAINMENT GROUP, is, upon information
and belief, a domestic business corporation incorporated in Delaware with its
principal place of business in New York City.


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        8.    Defendant NEWS CORPORATION, is, upon information and belief,
a domestic business corporation incorporated in Delaware with its principal place
of business in New York City.
        9.    Defendants FOX CORPORATION, FOX NEWS NETWORK, LLC,
FOX ENTERTAINMENT GROUP, and NEWS CORPORATION are collectively
referred to as the “Fox News” or “Entity Defendants.”
        10.   Defendant GEORGE MURDOCH (a/k/a “TYRUS”) (“Mr.
Murdoch”), is an individual who, upon information and belief, resides in
Louisiana. Mr. Murdoch co-hosted Un-PC with McHenry from September 2018
to April 2019 on Fox Nation and now hosts his own show on Fox Nation called
Nuff Said.
        11.   Defendant JENNIFER RAUCHET (“Ms. Rauchet”) is an individual
who, upon information and belief, resides in New York. Rauchet has been an
Executive Producer at Fox News Channel from April 2006 to the present.
        12.   Defendant JOHN FINLEY (“Mr. Finley”) is an individual who, upon
information and belief, resides in New York. Finley has been a Vice President at
Fox News Channel since approximately 2000.
        13.   Defendant MONICA MEKEEL (“Ms. Mekeel”) is an individual
who, upon information and belief, resides in New York. Mekeel has worked for
Fox News Channel and Fox Corporation as a Human Resources Consultant and
Senior Vice President from February 2017 to the present.
III.    JURISDICTION AND VENUE
        14.   This Court has jurisdiction over this suit pursuant to 28 U.S.C. §
1332, as the parties are completely diverse in citizenship and the amount in
controversy exceeds $75,000.
        15.   This Court has personal jurisdiction over Defendants pursuant to
New York Civil Practice Law and Rules (“C.P.L.R.”) Sections 30l and 302
because the Defendants are located in New York and/or transact business in New
York.


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      16.   This Court has personal jurisdiction over Defendants pursuant to
C.P.L.R. Section 302 because Defendants committed tortious acts causing injury
to Ms. McHenry in New York State.
      17.   Venue is proper pursuant to C.P.L.R. § 503 based on Defendant Fox
News Network LLC’s principle place of business, located at 1211 Avenue of the
Americas, New York, New York 10036.
IV.   FACTUAL ALLEGATIONS
            FOX NEWS’ CULTURE OF MISOGYNY ABUSES,
 HARASSES, SILENCES, AND DESTROYS THE CAREERS OF WOMEN
      18.   Paragraphs 18 through 60 are alleged on information and belief,
based on reports from reputable news agencies.
      19.   Since its inception and continuing to today, Fox News has had a
sexual harassment problem. Roger Ailes, arguably the most powerful man in
American media during his 1996-2016 run as CEO of Fox News, set workplace
precedent and spawned a hostile environment of rampant sexual harassment,
sexual assault, overt misogyny, and retaliation among Fox News’ organizations.
Mr. Ailes normalized the practice of senior male executives and anchors preying
on subordinate female employees.
      20.   Fox News hyper-sexualizes and polices the appearance of on-air
female talent. To this day, Fox News encourages its “leg cam” to linger on
women’s bare legs. When women exercise their legal right to demand a
workplace free of sexual abuse and retaliation, Fox News refuses to allow
independent investigators to reach the truth, and instead covers up wrongdoing
and helps abusers thrive. Some examples, from over the years:
      21.   2004: Fox News’ top-rated host Bill O’Reilly settles a sexual
harassment claim with former producer Andrea Mackris. After she complains,
Fox News and Mr. O’Reilly file a lawsuit against her for extortion. She
countersues, alleging that Mr. O’Reilly made unwanted sexual advances and lewd
comments in a series of phone calls and dinner conversations. Mr. O’Reilly


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and/or Fox reportedly pay her $9 million to settle her claims. Ms. Mackris has not
worked in TV since.
      22.     2007: Fox News correspondent Catherine Herridge makes several
complaints to senior executives regarding employment practices she believed
were discriminatory on the basis of gender and age. Fox executive Dianne Brandi
purports to investigate these claims and later notifies Ms. Herridge that no
evidence of discrimination was found. When Ms. Herridge’s contract is up for
renewal in 2008, Ms. Brandi attempts to include new language in Ms. Herridge’s
employment contract which would preclude Ms. Herridge from bringing
discrimination complaints in the future. As result of Fox News’ refusal to proceed
with a new employment contract absent retaliatory language, the Equal
Employment Opportunity Commission (“EEOC”) files a lawsuit against Fox for
unlawful retaliation.
      23.     2011: Rebecca Gomez Diamond, a former host on the Fox Business
Network, receives a settlement payment from Mr. O’Reilly after she brings sexual
harassment claims against him. Ms. Gomez Diamond has recordings of Mr.
O’Reilly, and as part of the deal, she agrees not to speak about her allegations.
She has not worked in TV news since.
      24.     2014: Gabriel Sherman releases his Roger Ailes autobiography, in
which he speaks to television producer Randi Harrison, who claims Mr. Ailes
offered her a $400-a-week job at NBC, saying: “If you agree to have sex with me
whenever I want, I will add an extra hundred dollars a week.”
      25.     2015: Three female makeup artists at Fox News, Lena Jemmott,
Hilda Correa-LaPolla, and Maureen Walsh, file a complaint with the EEOC in
which they accuse Fox News of discriminating against them based on their
gender.
      26.     June 2016: Ms. Jemmott files a complaint for employment
discrimination against Fox News. That claim reportedly went into mediation.
      27.     July 2016: Former Fox News anchor Gretchen Carlson sues Mr.
Ailes, accusing him of sexual harassment. Her charges, which include the
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accusation that Mr. Ailes asked her for a sexual relationship, kick off numerous
allegations against Mr. Ailes. 21st Century Fox reportedly spends $20 million to
settle with Ms. Carlson, and Fox News publicly apologizes “for the fact that
Gretchen was not treated with the respect and dignity that she and all of our
colleagues deserve.”
       28.    July 2016: Former Fox News reporter Rudi Bakhtiar claims that she
was fired by Mr. Ailes at the news network nearly a decade ago after reporting
sexual harassment by the incoming Washington DC bureau chief Brian Wilson. A
mediator reportedly orders Fox News to pay her $670,000 remaining on her three-
year contract, as well as her legal fees.
       29.    July 2016: Mr. Sherman interviews several more women who allege
that Mr. Ailes sexually harassed them, including former Republican National
Committee field adviser Kellie Boyle, who says that Mr. Ailes propositioned her
in 1989, and Marsha Callahan, a former model who says Mr. Ailes harassed her in
the late sixties.
       30.    July 2016: Eventually, after a reported two dozen Fox News women
employees accuse Mr. Ailes of sexual harassment and/or retaliation, Mr. Ailes is
forced to resign. However, in Rupert Murdoch’s public statement regarding Mr.
Ailes’ resignation, Rupert Murdoch thanks Mr. Ailes for his “remarkable
contribution” to the network, disregarding Mr. Ailes’ many victims. Mr. Ailes
receives $40 million from Fox News and remains a consultant. Rather than
cleaning house, Rupert Murdoch keeps Mr. Ailes’ most loyal senior executives –
Ms. Brandi, Bill Shine, and Suzanne Scott – the same individuals who played an
active role in condoning, perpetuating, and covering up the rampant incidents of
sexual harassment and sexual assault at Fox News.
       31.    July 2016: Former Fox News director of booking Laurie Luhn tells
New York Magazine that Mr. Ailes “psychologically tortured” her for twenty years
after she accepted his offer of career opportunities in exchange for sexual favors.
Even though Luhn signed a $3.15 million settlement with Fox that included very
strict nondisclosure clauses, she went public with her story.
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      32.    August 2016: Former Fox News host Laurie Dhue claims she was
sexually harassed by Mr. Ailes, with her lawyer alleging that Mr. Ailes asked her
if she was wearing underwear while jumping on the trampoline with his son.
      33.    August 2016: Shelly Ross writes an essay for The Daily Beast about
her own experiences with Mr. Ailes, who allegedly proposed a “sexual alliance”
to mutually benefit their work.
      34.    August 2016: Fox News host Andrea Tantaros files a lawsuit against
Fox News, Mr. Ailes, and several other senior executives, including Mr. Shine,
Ms. Brandi, Ms. Scott, and Irena Briganti. Ms. Tantaros accuses the network of
retaliation after she complained of sexual harassment.
      35.    September 2016: Mr. Shine is promoted to Co-President of Fox
News, even after having been accused in multiple lawsuits of covering up sexual
harassment within Fox and dismissing concerns from women who complained
about it. Mr. Shine was described as Mr. Ailes’ “foot soldier,” “right-hand man,”
and “unofficial policeman.” Mr. Shine shares the same sexist attitudes as Mr.
Ailes, once publicly praising TV personality Elisabeth Hasselbeck for projecting
the image “that after the show, Elisabeth’s going home and she is changing a
couple of diapers” instead of “writing books and doing book tours.”
      36.    November 2016: Former Fox News anchor Megyn Kelly releases
her memoir, Settle for More, in which she alleges that Mr. Ailes sexually harassed
her during her time at Fox. Mr. O’Reilly publicly belittles and dismisses her
allegations. Ms. Kelly emails Fox executives to report that Mr. O’Reilly is
intimidating female victims who have the right to come forward. Mr. Shine
apparently promises to talk to Mr. O’Reilly, but Mr. O’Reilly later announces on
his own show that women should not complain about sexual harassment because it
undermines their employer.
      37.    December 2016: Fox 5 reporter Lidija Ujkic (known as Lidia
Curunaj) files a discrimination and hostile work environment suit against 21st
Century Fox, Fox Entertainment Group LLC, Fox Television Studios LLC, and


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News Director Byron Harman. Her allegations include reports that Mr. Ailes
sexually harassed her.
      38.    January 2017: Reports emerge that 21st Century Fox executives
secretly struck a six-figure agreement with longtime broadcaster Juliet Huddy,
who had come forward with similar accusations about Mr. O’Reilly.
      39.    January 2017: Ms. Correa-LaPolla and Ms. Maureen Walsh file a
legal suit against Fox, alleging that despite outstanding reviews, they were
discriminated against and fired for retaliation after complaining about the
company’s “locker room” climate.
      40.    April 2017: Even though it was aware of and had contributed to a
string of settlements with victims of sexual harassment (amounting to a total of
$13 million from Mr. O’Reilly and the company since 2004), Fox News renews
Mr. O’Reilly’s contract, vowing to stand by their man.
      41.    April 2017: Former Fox News political commentator Julie Roginsky
says that Mr. Ailes sexually harassed her while he promised a big promotion,
according to a new lawsuit. The suit also names Mr. Shine as a defendant, and
makes allegations about several senior figures, including Ms. Brandi, Ms. Scott,
and Ms. Briganti.
      42.    April 2017: Three women come forward with detailed allegations of
sexual harassment by Mr. O’Reilly: psychologist and radio TV personality Dr.
Wendy Walsh, Fox News clerical worker Perquita Burgess, and associate
professor of politics and political commentator Dr. Caroline Heldman. Mr.
O’Reilly is forced to resign. Thanks to his wrongfully renewed contract, it is
believed that he receives a pay-off of approximately $25 million.
      43.    April 2017: Ms. Tantaros files an additional lawsuit against Fox
News alleging illegal electronic surveillance and online harassment of her.
      44.    April 2017: Former Fox News anchor Alisyn Camerota accuses Mr.
Ailes of sexually harassing her by saying “grossly inappropriate” things to her and
once inviting her to a hotel room when she asked for new opportunities at work.


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      45.      May 2017: Mr. Shine, longtime henchman of Mr. Ailes, finally
resigns.
      46.      May 2017: Reporter Diana Falzone sues Fox News Network for
discriminating against her on the basis of her gender and her fight against a
chronic disease.
      47.      May 2017: Ms. Scott replaces Mr. Shine as CEO of Fox News and
Fox Business Network, despite being cited in numerous sexual harassment
lawsuits. It is reported that she retaliated against women who made sexual
harassment complaints, and fully supported the hostile and demeaning work
environment fostered by Fox News for its female talent. NPR reported that a Fox
News staffer said that Ms. Scott was “worse than Shine” in deflecting concerns of
women.
      48.      May 2017: Kathleen Lee, a shift editor at Fox News Radio, and
Naima Farrow, a former accounts payable coordinator, file separate lawsuits
against Fox.
      49.      July 2017: Jamie Horowitz, president of Fox Sports National
Networks, is let go amid multiple allegations of sexual harassment.
      50.      July-September 2017: Host of Fox Business’ “Making Money,”
Charles Payne, is suspended amid allegations of sexual harassment and sexual
assault; he returns to airwaves once he is purportedly cleared in an internal
investigation.
      51.      September 2017: Eric Bolling, host of “Fox News Specialists,” is
let go after sending unsolicited photos of male genitalia to female colleagues.
      52.      October 2017: Reports emerge that Mr. O’Reilly paid former Fox
News legal analyst Lis Wiehl an astonishing $32 million to settle her claims of
sexual harassment against him.
      53.      October 2017: Ms. Kelly publicly declares that Mr. O’Reilly is
making false assertions related to the complaints against him, and that Fox
executives, including Ms. Briganti, continue to retaliate against women for
reporting sexual harassment and discrimination. “This must stop,” Ms. Kelly
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says. “The abuse of women, the shaming of them, the threatening, the retaliation,
the silencing of them after the fact — it has to stop.” Fox releases a statement
lending its “full support” to Ms. Briganti.
      54.    November 2017: Fox News contributor Geraldo Rivera defends
sexual harasser Matt Lauer by saying that “News is a flirty business.”
      55.    November 2017: 21st Century Fox reaches a $90 million settlement
of a shareholder derivative action arising from claims that the company had
allowed racial and sexual harassment to pervade the company’s culture, resulting
in reputational and financial harm.
      56.    December 2017: Rupert Murdoch, founder of News Corporation
and former Chairman and CEO of Fox Corporation, dismisses all sexual
harassment allegations at Fox: “It’s all nonsense. . . That was largely political
because we are conservative.” Many of the female accusers were also
conservative. He claims that the allegations against Mr. Ailes were “isolated
incidents” and that “there has been nothing else” since his ouster. Approximately
ten former and current Fox employees tell HuffPost that this is a blatant lie: “I
have had to put up with a hostile work environment for years, and now I’m told
that it doesn’t exist by a man who doesn’t have to walk these halls every day?”
      57.    December 2017: Fox News’ chief Washington correspondent,
James Rosen, departs amidst rumors of a pattern of sexually harassing behavior.
      58.    March 2019: An audio clip of Fox News personality Tucker Carlson
emerges in which Mr. Carlson says that: arranged marriages between adults and
children are not “the same thing exactly as pulling a child from a bus stop and
sexually assaulting that child.... The rapist in this case has made a lifelong
commitment to live and take care of the person, so it is a little different”; sex
workers are “slutty and pathetic”; women are “extremely primitive, they’re basic,
they’re not that hard to understand”; and in response to a story about girls at his
fourteen-year-old daughter’s boarding school experimenting sexually with each
other: “If it weren’t my daughter, I would love that scenario.”


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      59.    As a general pattern and practice, Fox stands behind its on-air talent
despite conduct and comments that can only be described as sexist, misogynistic,
and discriminatory. Not only did Fox remain silent when Mr. Carlson brushed off
critiques of his above comments as “bewildering,” they also continue to support
Steve Doocy after he was accused of sexually harassing his co-host Gretchen
Carlson, and Tomi Lahren after she publicly accused Senator Kamala Harris of
“sleep[ing] [her] way to the top.”
      60.    It is no wonder, against this backdrop, that Ms. McHenry’s harasser
felt emboldened.
MS. MCHENRY’S PROFESSIONAL BACKGROUND AND SUCCESSFUL
   CAREER HISTORY CATCHES THE ATTENTION OF FOX NEWS
      61.    Ms. McHenry graduated from Northwestern University’s Medill
School of Journalism and began her broadcast journalism career working for
WJLA-TV, an ABC Television Washington affiliate as a sports reporter and fill-in
anchor.
      62.    In March 2014, Ms. McHenry was hired as an ESPN reporter in
Washington, DC and was a correspondent on ESPN shows such as SportsCenter,
Outside the Lines, NFL Live, and Baseball Tonight.
      63.    In August 2017, Ms. McHenry appeared for the first time on Fox
News Channel on Tucker Carlson Tonight. Ms. McHenry’s on-air talent was
apparent, she was invited back on the show, and became a regular guest on other
Fox News Channel programs including Fox & Friends and Watters’ World.
      64.    In March 2018, WTTG, a Washington Fox News affiliate, hired Ms.
McHenry to co-host a show called Like It or Not a news show where the co-hosts
weighed in on current events.
      65.    Ms. McHenry’s talent caught the attention of John Finley, Vice
President at Fox News. On or about July 18, 2018, Fox News hired Ms. McHenry
to host Un-PC, a talk show covering politics and entertainment on the Fox Nation
streaming service. Fox also hired George Murdoch (a/k/a “Tyrus”), a former


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professional wrestler, to co-host Un-PC with Ms. McHenry. Additionally, Ms.
McHenry was hired as a contributor by local Fox News channel WTTG.
         MR. MURDOCH SEXUALLY HARASSES MS. MCHENRY
       66.      Ms. McHenry first met Mr. Murdoch in late August 2018 at a dinner
hosted by Fox News. Beginning in September of 2018, they met in New York
every week for rehearsals. Ms. McHenry was eager to make the show a success
and was friendly with Mr. Murdoch so that they could forge a professional and
dynamic working relationship that would translate to a good on-air rapport.
       67.      Ms. McHenry learned quickly of Mr. Murdoch’s volatile, and at
times disturbing relationships with others, especially with women.
       68.      Mr. Murdoch told Ms. McHenry that his girlfriend was jealous of her
and had sent her (and subsequently deleted) a threatening Instagram message.
       69.      Mr. Murdoch also told Ms. McHenry that the mother of one of his
children had accused him of abusing drugs, threatening her and her children, and
being unsafe to be around. This made Ms. McHenry scared and anxious. She felt
the need to be careful around him to make sure she did not cause him to be angry.
       70.      Mr. Murdoch began displaying volatile and unpredictable behavior at
work. At the Fox Nation summit in 2018, Mr. Murdoch refused to take a group
photo with co-worker Tomi Lahren, despite being directed to by Fox News Vice
President John Finley. On another occasion, Mr. Murdoch threw a temper
tantrum rather than film a segment with actor Stephen Baldwin.
       71.      Despite his bizarre behavior, Ms. McHenry put forth considerable
effort to try and appease him and maintain a jovial relationship with him so as to
not be the next victim of his lashing out.
       72.      Mr. Murdoch began making sexual advances to Ms. McHenry and
making sexually harassing comments to her. He started sending her inappropriate
text messages.
       73.      On October 31, 2018, Mr. Murdoch texted Ms. McHenry, “I love
pony tails and braids you look amazing and it’s a real turn on not that you care but
I love it[.]”
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      74.    On November 2, 2018, Mr. Murdoch texted Ms. McHenry, “I love
your legs // Fuck them your beautiful I love that picture // Is it creepy how I look
at you ??? // FYI you’ll need those legs to escape from me in Montana // I please
especially on your knees hotness[.]”
      75.    On November 5, 2018, Mr. Murdoch texted Ms. McHenry, “I’ll show
you what it mean to be bad Brittany Mc Henry // Dick pic coming in 5 sec!!!!”
      76.    Ms. McHenry maintained a friendly relationship with Mr. Murdoch,
and at one point thought that they were becoming good friends. Ms. McHenry
continued to do her best to not upset Mr. Murdoch out of fear of his volatile
tendencies and fear that angering him would drastically hurt the show she had
worked so hard to achieve. As such, she politely replied to his grossly sexualized
texts with friendly but non-sexual responses. Ms. McHenry never crossed the line
or sent Mr. Murdoch any sexual messages.
      77.    On or about November 6, 2018, after a taping, Ms. McHenry and Mr.
Murdoch went to dinner together in Times Square. Mr. Murdoch drank alcohol
excessively at dinner. On the walk back to their hotel, provided by Fox, Mr.
Murdoch grabbed Ms. McHenry’s hand and held it in an aggressive and overtly
sexualized manner. Ms. McHenry did not want to upset Mr. Murdoch. After a
minute, she was able to take her hand away. When they got back to the hotel, Ms.
McHenry left Mr. Murdoch in the lobby, told the doorman to look after him, and
rushed up to her room.
      78.    Despite this display of resistance, Mr. Murdoch continued to sexually
harass Ms. McHenry by making sexually inappropriate comments to her in
person, and also via text message.
      79.    On November 17, 2018, Mr. Murdoch texted Ms. McHenry, “The
picture looks so good I would knock the picture up .... crazy sexy love your
legs[.]”
      80.    On November 18, 2018, Mr. Murdoch texted Ms. McHenry, “I love
the fact your always working if we ever had sex I feel like after an orgazzum you


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say speaking of feeling good did see the story on the puppy rescue we should do a
segment on it hand me my phone[.]”
      81.    On December 10, 2018, Mr. Murdoch threatened Ms. McHenry via
text, “Keep being negative and I’ll send you another dick pic[.]”
      82.    On December 31, 2018, while Mr. Murdoch and Ms. McHenry were
in New York for separate Fox tapings for New Year’s Eve, Mr. Murdoch learned
that Ms. McHenry had brought her boyfriend to New York. Mr. Murdoch
immediately became hostile and aggressive towards Ms. McHenry.
                  FOX NEWS IGNORES MS. MCHENRY’S
                     SEXUAL HARASSMENT REPORT
      83.    After Mr. Murdoch realized that Ms. McHenry had a boyfriend, he
further harassed and retaliated against her, and created an abusive and hostile
work environment for her on set. He generally refused to talk to her unless it was
during a taped segment, which had a negative influence on their on-air
performances. Sometime in January of 2019, Ms. McHenry told Un-PC’s
executive producer, Jennifer Rauchet, that Mr. Murdoch had sent her
inappropriate texts. To Ms. McHenry’s knowledge, Ms. Rauchet chose to ignore
this complaint, did not contact Fox Human Resources about Mr. Murdoch’s
harassment and did not otherwise report or investigate him.
      84.    On February 22, 2019, Mr. Murdoch, without provocation, lashed out
at Ms. McHenry on-air on Un-PC, telling her that her opinion was “an ignorant
point of view,” that she had “no integrity,” and that “only an idiot would say that.”
While the two regularly disagreed as part of the show, Mr. Murdoch had never
stooped to such a personal level with his attacks. Ms. McHenry was distraught
from enduring Mr. Murdoch’s sexual harassment and retaliatory insults. She
called Ms. Rauchet, in tears. Ms. McHenry made a second sexual harassment
complaint about Mr. Murdoch’s demeaning conduct. Ms. Rauchet acknowledged
that Mr. Murdoch was difficult, and told Ms. McHenry that Mr. Murdoch had
previously sent her a hostile email about the show. Again, to Ms. McHenry’s


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knowledge, Ms. Rauchet chose not to contact Fox Human Resources about Mr.
Murdoch’s harassment and chose not to otherwise report or investigate him.
      85.     From February 2019 to April 2019, Mr. Murdoch’s retaliatory
conduct continued. Mr. Murdoch continued to be rude to her and made a point
not to speak to Ms. McHenry unless they were on camera. The rare times that Mr.
Murdoch was civil to her, she would try to take advantage of the opportunity by
inviting him to lunch or otherwise trying to make their partnership work. He did
not change.
      86.     On or around April 12, 2019, Ms. McHenry moved a hockey banner
that was hanging up on the Un-PC set. In front of their show guest, with his
microphone on, Mr. Murdoch yelled at Ms. McHenry to take the banner down,
and cursed at her. This was a breaking point for Ms. McHenry, who had endured
Mr. Murdoch’s hostile working environment for months. Ms. McHenry, crying,
once again went to Ms. Rauchet to make a third report about Mr. Murdoch’s
sexual harassment and retaliatory abuse. Ms. Rauchet responded by telling her
not to complain – that she was “replaceable,” and that Fox News had never
wanted her. When Ms. McHenry tried to continue the conversation, Ms. Rauchet
physically walked out on her.
      87.     Ms. McHenry’s agent emailed Mr. Finley later that evening on Ms.
McHenry’s behalf. He made a fourth report about Ms. McHenry’s intolerable
work environment, as well as Ms. Rauchet’s inappropriate reaction to Ms.
McHenry’s complaint.
       FOX NEWS PUNISHES MS. MCHENRY IN RETALIATION
              FOR HER SEXUAL HARASSMENT COMPLAINTS
            AND REWARDS MR. MURDOCH FOR CONTINUING
        THE FOX LEGACY OF MISOGYNY AND HARASSMENT
      88.     Ms. McHenry did not hear back from a Fox News representative until
the next week. On or around April 17, 2019, she heard from Monica Mekeel, a
Fox News Human Resources representative. Ms. McHenry sent Ms. Mekeel
screenshots of some of Mr. Murdoch’s harassing text messages. Ms. Mekeel
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requested every text message ever exchanged between Ms. McHenry and Mr.
Murdoch, and essentially asked Ms. McHenry what she had done to provoke Mr.
Murdoch. Ms. McHenry clarified that she had never wanted nor asked to be
sexually harassed, and that Fox’s response to her report is why women do not
come forward and report sexual harassment.
      89.    Fox News told Ms. McHenry that Un-PC would resume with her and
a new co-host but did not consult with Ms. McHenry about who to select as a new
co-host. In the meantime, to Ms. McHenry’s knowledge, Mr. Murdoch was never
suspended by Fox. In fact, Fox News even gave Mr. Murdoch his own show,
effectively promoting him, and aggressively promoted his new show in their
online marketing materials. Mr. Murdoch was offered continued appearances on
Fox New Channel’s The Daily Briefing with Dana Perino and The Greg Gutfeld
Show. For Fox Nation talent, appearances on the Fox News Channel have career
enhancing value as there are far greater viewers on Fox News Channel than Fox
Nation. Additionally, Fox News Channel is the premiere place to be seen for
conservative commentators.
      90.    Fox eventually closed out Ms. McHenry’s complaint after telling her
attorney at the time that Mr. Murdoch’s conduct did not constitute sexual
harassment because there was no “clear intent to have sex with her.” This is an
incorrect statement of New York law.
      91.    Mr. Murdoch and Greg Gutfeld, a high-profile Fox employee,
publicly mocked Fox’s sexual harassment “investigation” on social media. Mr.
Gutfeld even reached out to the co-founder of The Federalist, where Ms.
McHenry occasional writes articles, to criticize him for supporting Ms. McHenry.
Fox News did nothing to stymie this conduct, even after Ms. McHenry begged
them to stop the retaliation. Fox News refused to respond to Ms. McHenry’s
continued complaints, directing her to report them to her attorney.
      92.    Ms. McHenry experienced other vicious retaliation from Fox News
including, but not limited to, the following:


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      93.   Ms. McHenry has received far fewer professional opportunities from
Fox since she made her sexual harassment complaint. For example, Ms. McHenry
was not invited to report on or cover the MLB All Star Game on Fox News
Channel, despite being promised this role when she was first hired (she was also
the only female on Fox Nation with national sports network experience and had
the most established sports media background on Fox Nation). Ms. McHenry also
used to regularly appear on Fox News Channel’s Watters’ World, but has not been
booked since her complaint (despite communication from bookers that they
wanted her to appear). Notably, Ms. Rauchet is the executive producer of
Watters’ World. In comparison, Mr. Murdoch has appeared on Fox News
Channel more than fifty times since the complaint against him.
      94.   Ms. McHenry was instructed to attend sexual harassment training in
May of 2019. She arrived to discover that she was the only employee in
attendance. She was prohibited from asking questions at the training about her
own experience with sexual harassment.
      95.   Since her sexual harassment complaint, Ms. McHenry has been
effectively frozen out by Fox News management. In the past, Fox News
managers and executives would check in with Ms. McHenry or stop in to watch
her show, but she has not heard from any of them since making her sexual
harassment complaint.
      96.   Fox News invited every Fox Nation host to attend the second annual
Fox Nation summit in May of 2019 (including Mr. Murdoch and Ms. McHenry’s
new Un-PC co-host) but did not invite Ms. McHenry.
      97.   Despite constantly promoting Mr. Murdoch’s new show Nuff Said,
Fox News has provided Ms. McHenry’s show with nearly zero marketing, despite
Ms. McHenry being the most clicked on personality on the Fox Nation website.
      98.   Every other Fox Nation host is regularly asked to appear on Fox
News Channel to promote Fox Nation. Mr. Murdoch appears on Fox News
Channel approximately twice a week and Ms. McHenry’s Un-PC co-host appears
on Fox News Channel almost weekly. Since making her sexual harassment
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complaint in April 2019, Ms. McHenry has appeared on Fox News Channel less
than ten times.
      99.     In November 2019, Ms. McHenry witnessed Defendant Rauchet tell
a Fox News guest to “keep her distance” from Ms. McHenry because Ms.
McHenry was “drama” because she was suing the network. She had not yet
brought this lawsuit.
                   FOX NEWS’ SHAM INVESTIGATIONS
   AND FRAUDULENTLY DOCTORED PHOTOS OF MS. MCHENRY
      100. After Ms. McHenry’s repeated requests for an investigation, Fox
News hired an investigator to purportedly investigate Ms. McHenry’s allegations.
      101. Fox News hired defense firm DLA Piper to represent them and
negotiate the departure of Ms. McHenry. Fox News also assigned the role of
conducting an “independent” investigation to DLA Piper, the same firm that was
hired to represent Fox News’ interests. As a result of this biased, self-serving,
sham investigation, DLA Piper found that there was no evidence of sexual
harassment.
      102. Ms. McHenry requested a more thorough investigation be conducted
by an actual impartial investigator. In response, Fox News hired a different
investigator to purportedly investigate her claims.
      103. Ms. McHenry submitted to a full day interview on September 12,
2019 in which the “neutral” investigators victim-blamed and argued with Ms.
McHenry as to why she did not tell Mr. Murdoch to “tone it down.” The “neutral”
investigator denied Ms. McHenry’s request to record the interview. One of the
investigators told Ms. McHenry (twice) she was “really pretty” and asked her, “I
mean, come on, you didn’t know you were leading him on?” The investigators
asked Ms. McHenry zero questions about her retaliation claims and made clear
that they were not investigating the retaliation. After the interview, Ms. McHenry
reminded Fox News that she had retaliation claims as well, but no further inquiry
was ever made into these allegations.


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      104. On October 18, 2019, the investigators made a finding that there was
no sexual harassment. The memorandum further said that Fox News investigated
Ms. McHenry’s claims of retaliation and found no evidence of retaliation (despite
not asking Ms. McHenry a single question about this in her interview and
explicitly saying that they were not investigating the retaliation).
      105. On October 22, 2019 Fox News counsel produced text messages to
Ms. McHenry, acquired during the “investigation,” purportedly between Ms.
McHenry and Mr. Murdoch. They claimed Ms. McHenry withheld these texts
from the investigators, which was critical to the investigators’ finding.
      106. The two-page screenshot contains two photos purported to be from
Ms. McHenry to Mr. Murdoch with her cleavage and nearly bare breast shown.
These photos and text messages are fraudulent, doctored, and not of Ms.
McHenry. A simple Google Image search shows that the first image was taken
from a website and the woman depicted was not Ms. McHenry.
      107. Ms. McHenry was shocked and horrified that Mr. Murdoch had
doctored text messages between them to make it appear that she was being
sexually explicit with him. Mr. Murdoch had also allegedly been circulating these
fraudulent text messages to others at Fox News, thereby irreparably harming Ms.
McHenry’s professional reputation.
      108. Ms. McHenry immediately offered to have a forensic expert examine
her cell phone to prove that she did not send those messages, provided Mr.
Murdoch do the same. To date, Mr. Murdoch has refused to submit to a forensic
examination of his phone.
      109. Despite the evidence that Mr. Murdoch had submitted fake texts and
sexualized photos purportedly of Ms. McHenry during the investigation, Fox
News stuck with its finding that Ms. McHenry had not been sexually harassed or
retaliated against, and stuck with its policy of rewarding Mr. Murdoch with his
own show and many Fox News Channel appearances, while shunning her.
V.    DAMAGES
      110. As a direct result of the discriminatory and wrongful conduct of
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Defendants, Ms. McHenry has suffered, and continues to suffer from severe
emotional distress, humiliation, anxiety, and irreparable damage to her
professional career.
      111. Further, Ms. McHenry is in therapy and has been experiencing stress-
induced sickness and migraines as a result of the anxiety caused by the
Defendants.
                                      COUNT I
GENDER DISCRIMINATION AND SEXUAL HARASSMENT – NYSHRL
   (Against Entity Defendants, Defendant Finley, Defendant Rauchet, and
                                Defendant Mekeel)
      112. Plaintiff repeats, reiterates and re-alleges each and every allegation
set forth in the preceding paragraphs as if set forth in full herein.
      113. New York Executive Law Section 296(1)(a) provides that: “It shall
be an unlawful discriminatory practice …[f]or an employer or licensing agency,
because of an individual’s age, race, creed, color, national origin, sexual
orientation, gender identity or expression, military status, sex … to refuse to hire
or employ or to bar or to discharge from employment such individual or to
discriminate against such individual in compensation or in terms, conditions or
privileges of employment.”
      114. Plaintiff is a woman and thus a member of a protected class under
Section 296(1)(a) of the New York Human Rights Law and under Title 8 of the
New York City Administrative Code, section 8-107.
      115. Entity Defendants, Defendants Finley, Mekeel, and Rauchet
discriminated against Plaintiff in the terms and conditions of her employment on
the basis of her gender in violation of the NYSHRL by subjecting Plaintiff to
disparate treatment based upon her gender including, but not limited to, subjecting
her to sexual harassment and a hostile work environment and refusing to
adequately investigate her claims of sexual harassment and discrimination.




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      116. Plaintiff was discriminated against and subjected to unwelcome
sexual harassment, including but not limited to the conduct of Defendant
Murdoch.
      117. The discrimination and harassment were based upon her sex.
      118. The discrimination and harassment were severe and pervasive, thus
altering the condition of Plaintiff’s employment and creating an abusive work
environment.
      119. The discrimination and harassment had the purpose and effect of
unreasonably interfering with Plaintiff’s work performance and creating an
intimidating, hostile, and offensive working environment.
      120. Entity Defendants, Defendants Finley, Mekeel, and Rauchet and each
of them discriminated against Plaintiff by imposing a hostile work environment
upon Plaintiff by condoning the conduct of its employees and managers, including
the harassing conduct of Defendant Murdoch.
      121. Entity Defendants, Defendants Finley, Mekeel, and Rauchet and each
of them did not try to prevent the discriminatory and harassing behavior.
      122. Entity Defendants, Defendants Finley, Mekeel, and Rauchet and each
of them acquiesced in the discriminatory and harassing conduct by creating and
allowing to exist a hostile, intolerable, offensive and abusive workplace that a
reasonable person would consider intimidating, hostile, or abusive.
      123. Entity Defendants, Defendants Finley, Mekeel, and Rauchet
condoned the discriminatory and harassing conduct and did not try to promptly
correct the discriminatory, harassing, and abusive behavior.
      124. As a direct and proximate result of the discriminatory, harassing, and
abusive conduct of Entity Defendants, Defendants Finley, Mekeel, and Rauchet
and each of them, Plaintiff suffered adverse employment consequences by the
conduct of its employees and managers, of which they were well aware and
without non-discriminatory basis therefor.
      125. As a direct and proximate result of the discriminatory, harassing, and
abusive conduct of Entity Defendants, Defendants Finley, Mekeel, and Rauchet,
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Plaintiff suffered adverse employment consequences by the conduct of its
employees, including loss of future wages, professional opportunities, and other
valuable benefits and emoluments of employment, as well as mental anguish and
humiliation.
      126. Entity Defendants, Defendants Finley, Mekeel, and Rauchet’s
conduct was willful and motived by malice and/or reckless indifference to
Plaintiff’s legal rights, entitling her to an award of punitive damages.
                                     COUNT II
         Gender Discrimination and Sexual harassment – NYCHRL
                             (Against All Defendants)
      127. Plaintiff repeats, reiterates and re-alleges each and every allegation
set forth in the preceding paragraphs as if set forth in full herein.
      128. New York City Administrative Code Section 8-107(1)(a) provides
that: “It shall be an unlawful discriminatory practice …[f]or an employer or an
employee or agent thereof, because of the actual or perceived ... gender... to refuse
to hire or employ or to bar or to discharge from employment such person or to
discriminate against such person in compensation or in terms, conditions or
privileges of employment.”
      129. Plaintiff is a woman and thus a member of a protected class under
Section 296(1)(a) of the New York Human Rights Law and under Title 8 of the
New York City Administrative Code, section 8-107.
      130. Defendants discriminated against Plaintiff in the terms and conditions
of her employment on the basis of her gender in violation of the NYSHRL by
subjecting Plaintiff to disparate treatment based upon her gender including, but
not limited to, subjecting her to sexual harassment and a hostile work environment
and refusing to adequately investigate her claims of sexual harassment and
discrimination.
      131. Plaintiff was discriminated against and subjected to unwelcome
sexual harassment, including but not limited to the conduct of Defendant
Murdoch.
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      132. The discrimination and harassment were based upon her sex.
      133. The discrimination and harassment were severe and pervasive, thus
altering the condition of Plaintiff’s employment and creating an abusive work
environment.
      134. The discrimination and harassment had the purpose and effect of
unreasonably interfering with Plaintiff’s work performance and creating an
intimidating, hostile, and offensive working environment.
      135. Defendants and each of them discriminated against Plaintiff by
imposing a hostile work environment upon Plaintiff by condoning the conduct of
its employees and managers, including the harassing conduct of Defendant
Murdoch.
      136. Defendants and each of them did not try to prevent the discriminatory
and harassing behavior.
      137. Defendants and each of them acquiesced in the discriminatory and
harassing conduct by creating and allowing to exist a hostile, intolerable,
offensive and abusive workplace that a reasonable person would consider
intimidating, hostile, or abusive.
      138. Entity Defendants, Defendants Finley, Mekeel, and Rauchet
condoned the discriminatory and harassing conduct and did not try to promptly
correct the discriminatory, harassing, and abusive behavior.
      139. Defendant Murdoch perpetrated the sexual harassment and hostile
work environment of Ms. McHenry.
      140. As a direct and proximate result of the discriminatory, harassing, and
abusive conduct of Defendants and each of them, Plaintiff suffered adverse
employment consequences by the conduct of its employees and managers, of
which they were well aware and without non-discriminatory basis therefor.
      141. As a direct and proximate result of the discriminatory, harassing, and
abusive conduct of Defendants, Plaintiff suffered adverse employment
consequences by the conduct of its employees, including loss of future wages,


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professional opportunities, and other valuable benefits and emoluments of
employment, as well as mental anguish and humiliation.
      142. Defendants’ conduct was willful and motived by malice and/or
reckless indifference to Plaintiff’s legal rights, entitling her to an award of
punitive damages.
                                     COUNT III
                              Retaliation - NYCHRL
                               (Against Defendants)
      143. Plaintiff repeats, reiterates and re-alleges each and every allegation
set forth in the preceding paragraphs as if set forth in full herein.
      144. New York City Administrative Code Section 8-107(7) provides that:
“It shall be an unlawful discriminatory practice for any person engaged in any
activity to which this chapter applies to retaliate or discriminate in any manner
against any person because such person has…opposed any practice forbidden
under this chapter.…The retaliation or discrimination complained of under this
subdivision need not result in an ultimate action with respect to
employment…provided, however, that the retaliatory or discriminatory act or acts
complained of must be reasonably likely to deter a person from engaging in
protected activity.”
      145. Defendants engaged in gender discrimination against Plaintiff.
      146. Plaintiff engaged in protected activity by complaining to Entity
Defendants, Defendants Finley, Mekeel, and Rauchet about the sexual harassment
and mistreatment based on gender inflicted upon her by Fox News employees and
managers, including but not limited to the sexual harassment of Defendant
Murdoch.
      147. Plaintiff complained about the harassment and gender discrimination
at least four times to Entity Defendants, Defendants Finley, Mekeel, and/or
Rauchet.
      148. Instead of addressing her reports and complaints, Entity Defendants,
Defendants Finley, Mekeel, and Rauchet subjected Plaintiff to further harassment
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and mistreatment, denied her access to shows on which she had previously
appeared, promoted Defendant Murdoch, her harasser, to his own show, refused to
market Plaintiff’s show, failed to invite Ms. McHenry to key Fox News events,
and denied Ms. McHenry of other professional opportunities.
      149. Defendant Murdoch retaliated against Ms. McHenry after she
rebuffed his sexual advances by ignoring her, cursing at her and berating her on
set, and doctoring a fraudulent sexually explicit photo of her and circulating it to
Fox News employees.
      150. Defendants denied Plaintiff the benefit of employment, including all
favorable conditions and emoluments thereof.
      151. Defendants’ retaliatory tactics were reasonably likely to deter a
person from engaging in protective activity, such as resisting sexual advances and
complaining about discrimination.
      152. Plaintiff suffered adverse employment consequences, including lost
past and future wages, professional opportunities, other valuable benefits and
emoluments of employment as well as to endure severe emotional pain and
trauma, all to her detriment.
      153. Defendants’ conduct was willful and motived by malice and/or
reckless indifference to Plaintiff’s legal rights, entitling her to an award of
punitive damages.
                                     COUNT IV
                                Retaliation - NYSHRL
   (Against Entity Defendants, Defendant Finley, Defendant Mekeel, and
                                 Defendant Rauchet)
      154. Plaintiff repeats, reiterates and re-alleges each and every allegation
set forth in the preceding paragraphs as if set forth in full herein.
      155. New York City Executive Law Section 296(7) provides that: “It shall
be an unlawful discriminatory practice for any person engaged in any activity to
which this chapter applies to retaliate or discriminate against any person because
he or she person has opposed any practice forbidden under this article or because
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he or she has filed a complaint, testified or assisted in any proceeding under this
article.”
       156. Entity Defendants, Defendants Finley, Mekeel, and Rauchet engaged
in gender discrimination against Plaintiff.
       157. Plaintiff engaged in protected activity by complaining to Entity
Defendants, Defendants Finley, Mekeel, and Rauchet about the sexual harassment
and mistreatment based on gender inflicted upon her by Fox News employees and
managers, including but not limited to the sexual harassment of Mr. Murdoch.
       158. Plaintiff complained about the harassment and gender discrimination
at least four times to Entity Defendants, Finley, Mekeel, and/or Rauchet.
       159. Instead of addressing her reports and complaints, Entity Defendants,
Defendants Finley, Mekeel, and Rauchet subjected Plaintiff to further harassment
and mistreatment, denied her access to shows on which she had previously
appeared, promoted Defendant Murdoch, her harasser, to his own show, refused to
market Plaintiff’s show, failed to invite Ms. McHenry to key Fox News events,
and denied Ms. McHenry of other professional opportunities.
       160. Entity Defendants, Defendants Finley, Mekeel, and Rauchet denied
Plaintiff the benefit of employment, including all favorable conditions and
emoluments thereof.
       161. Entity Defendants, Defendants Finley, Mekeel, and Rauchet’s
retaliatory tactics were reasonably likely to deter a person from engaging in
protective activity, such as resisting sexual advances and complaining about
discrimination.
       162. Plaintiff suffered adverse employment consequences, including lost
past and future wages, professional opportunities, other valuable benefits and
emoluments of employment as well as to endure severe emotional pain and
trauma, all to her detriment.
       163. Entity Defendants, Defendants Finley, Mekeel, and Rauchet’s
conduct was willful and motived by malice and/or reckless indifference to
Plaintiff’s legal rights, entitling her to an award of punitive damages.
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                                     COUNT V
  Aiding and Abetting Gender Discrimination and Retaliation – NYCHRL
                             (Against All Defendants)
       164. Plaintiff repeats, reiterates and re-alleges each and every allegation
set forth in the preceding paragraphs as if set forth in full herein.
       165. New York City Administrative Code Section 8-107(6) makes it “an
unlawful discriminatory practice for any person to aid, abet, incite, compel or
coerce the doing of any of the acts forbidden under this article, or attempt to do
so.”
       166. All Defendants aided and abetted the gender discrimination and
retaliation of Plaintiff.
       167. Entity Defendants have, and throughout Plaintiff’s employment had,
a continuous practice or policy of discouraging women from reporting sexual
harassment and failing to prevent or stop sexual harassment.
       168. Entity Defendants foster, and throughout Plaintiff’s employment
fostered, an environment where women do not feel comfortable reporting sexual
harassment.
       169. Entity Defendants has, and throughout Plaintiff’s employment had, a
continuous practice or policy of failing to properly investigate complaints of
sexual harassment.
       170. Entity Defendants have, and throughout Plaintiff’s employment had,
a continuous practice or policy of intimidating and/or ignoring employee
witnesses to sexual harassment, including but not limited to making threats of
adverse employment action should the employees speak out against sexual
harassment.
       171. Defendant Murdoch aided and abetted the gender discrimination by,
among other things, subjecting Plaintiff to months of inappropriate sexual
comments, and lashing out at her when she rebuffed his sexual advances.
       172. Entity Defendants, Defendants Finley, Mekeel, and Rauchet aided
and abetted the gender discrimination by, among other things, failing to promptly
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and adequately investigate Plaintiff’s claims and failing to stop the gender
discrimination.
       173. Entity Defendants aided and abetted the gender discrimination by
facilitating the retaliation of Plaintiff by, among other things, failing to promote
her show, refusing to book her on shows she had previously appeared on,
promoting her harasser, shutting her out of Fox News events, and having Fox
News management ignore her.
       174. As a direct and proximate result of the discriminatory conduct of
Defendants and each of them, Plaintiff suffered mental anguish and humiliation,
as well as adverse employment consequences, including loss of future wages,
professional opportunities, and other valuable benefits and emoluments of
employment.
       175. Defendants’ conduct was willful and motived by malice and/or
reckless indifference to Plaintiff’s legal rights, entitling her to an award of
punitive damages.
                                     COUNT VI
    Aiding and Abetting Sexual Harassment, Gender Discrimination, and
                              Retaliation – NYSHRL
                             (Against All Defendants)
       176. Plaintiff repeats, reiterates and re-alleges each and every allegation
set forth in the preceding paragraphs as if set forth in full herein.
       177. New York Executive Law Section 296(6) makes it “an unlawful
discriminatory practice for any person to aid, abet, incite, compel or coerce the
doing of any of the acts forbidden under this article, or attempt to do so.”
       178. All Defendants aided and abetted the gender discrimination and
retaliation of Plaintiff.
       179. Entity Defendants have, and throughout Plaintiff’s employment had,
a continuous practice or policy of discouraging women from reporting sexual
harassment and failing to prevent or stop sexual harassment.


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      180. Entity Defendants foster, and throughout Plaintiff’s employment
fostered, an environment where women do not feel comfortable reporting sexual
harassment.
      181. Entity Defendants has, and throughout Plaintiff’s employment had, a
continuous practice or policy of failing to properly investigate complaints of
sexual harassment.
      182. Entity Defendants have, and throughout Plaintiff’s employment had,
a continuous practice or policy of intimidating and/or ignoring employee
witnesses to sexual harassment, including but not limited to making threats of
adverse employment action should the employees speak out against sexual
harassment.
      183. Defendant Murdoch aided and abetted the gender discrimination by,
among other things, subjecting Plaintiff to months of inappropriate sexual
comments, and lashing out at her when she rebuffed his sexual advances.
      184. Entity Defendants, Defendants Finley, Mekeel, and Rauchet aided
and abetted the gender discrimination by, among other things, failing to promptly
and adequately investigate Plaintiff’s claims and failing to stop the gender
discrimination.
      185. Entity Defendants aided and abetted the gender discrimination by
facilitating the retaliation of Plaintiff by, among other things, failing to promote
her show, refusing to book her on shows she had previously appeared on,
promoting her harasser, shutting her out of Fox News events, and having Fox
News management ignore her.
      186. As a direct and proximate result of the discriminatory conduct of
Defendants and each of them, Plaintiff suffered mental anguish and humiliation,
as well as adverse employment consequences, including loss of future wages,
professional opportunities, and other valuable benefits and emoluments of
employment.




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      187. Defendants’ conduct was willful and motived by malice and/or
reckless indifference to Plaintiff’s legal rights, entitling her to an award of
punitive damages.
                                    COUNT VII
                   Intentional Infliction of Emotional Distress
                          (Against Defendant Murdoch)
      188. Plaintiff repeats, reiterates and re-alleges each and every allegation
set forth in the preceding paragraphs as if set forth in full herein.
      189. Defendant Murdoch sexually harassed Plaintiff over a span of several
months including sending her sexually explicit text messages, despite Plaintiff
making clear that such sexually explicit messages were unwelcome.
      190. Defendant Murdoch fraudulently doctored text messages between
him and Plaintiff in which it appeared Plaintiff was sending him photos of her
cleavage and nearly naked breasts. Defendant Murdoch then circulated these
doctored photographs to other employees at Fox News, irreparably harming
Plaintiff’s reputation.
      191. Defendant Murdoch acted in a manner so extreme and outrageous
that it exceeds all reasonable bounds of decency.
      192. The above conduct was done intentionally and/or recklessly for with
the intent to cause severe emotional distress and/or mental trauma to Plaintiff.
      193. Defendant Murdoch’s conduct caused Plaintiff’s injuries.
      194. Because of Defendant Murdoch’s aforementioned conduct, Plaintiff
has suffered, and continues to suffer, severe emotional distress.
      195. Because of Defendant Murdoch’s intentional and/or reckless conduct,
Plaintiff is entitled to all damages permitted by law.
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                             PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully prays that this Court grant the following
relief against the Defendants:
       A.    Award Plaintiff all of her damages under New York Executive Law
Section 296(1)(a), New York City Administrative Code Section 8-107(1)(a), New
York City Administrative Code Section 8-107(7), New York City Executive Law
Section 296(7), New York City Administrative Code Section 8-107(6), New York
Executive Law Section 296(6), Intentional Infliction of Emotional Distress, and
common law, including compensatory damages and punitive damages in an
amount in excess of $75,000 to be determined at Trial.
       B.    Award Plaintiff all attorney’s fees, costs and expenses available
under law;
       C.    Award Plaintiff all pre-judgment interest and post judgment interest
available under law; and
       D.    Award Plaintiff such additional and further relief as this Court may
deem just and proper.
                      VI.    DEMAND FOR JURY TRIAL
       Plaintiff hereby requests a trial by jury as to all claims for monetary
damages.

DATED: December 10, 2019                       Respectfully submitted,


                                               THE BLOOM FIRM

                                               By: /s/ Lisa Bloom
                                               Lisa Bloom, Esq
                                               Arick Fudali, Esq.
                                               Sarah Bloom, Esq.
                                               85 Delancey St. #29
                                               New York, NY 10002
                                               Attorneys for Brittany McHenry



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